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      CA02db Intake

      From:                NYSD_ECF_Pool@nysd.uscourts.gov
      Sent:                Wednesday, January 17, 2024 12:43 PM
      To:                  NYSD CourtMail
      Subject:             Activity in Case 1:22-cr-00644-JSR USA v. VEREEN Appeal Record Sent to USCA - Electronic File


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      ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
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      free copy and 30 page limit do not apply.

                                                          U.S. District Court

                                                    Southern District of New York

      Notice of Electronic Filing

      The following transaction was entered on 1/17/2024 at 12:42 PM EST and filed on 1/17/2024
      Case Name:          USA v. VEREEN
      Case Number:        1:22-cr-00644-JSR
      Filer:
      Document Number: No document attached

      Docket Text:
      Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic
      Files as to Steven Perez re: [101] Notice of Appeal - Final Judgment were transmitted to the
      U.S. Court of Appeals. (km)


      1:22-cr-00644-JSR-2 Notice has been electronically mailed to:

      Edward Vincent Sapone        ed@saponepetrillo.com, edward@saponelaw.com, monica@saponepetrillo.com

      Lucas Estlund Issacharoff     Lucas.Issacharoff@usdoj.gov, CaseView.ECF@usdoj.gov, USANYS.ECF@USDOJ.GOV

      Sarah Mortazavi     sarah.mortazavi@usdoj.gov, , CASEVIEW.ECF@USDOJ.GOV, USANYS.ECF@USDOJ.GOV

      Zawadi S Baharanyi    zawadi_baharanyi@fd.org

      Ashley Carolyn Nicolas      ashley.nicolas2@usdoj.gov, CaseView.ECF@usdoj.gov, USANYS.ECF@usdoj.gov

      Amanda Joy Mayo      mayoa@sullcrom.com

      Madison Reddick Smyser        madison.smyser@usdoj.gov


                                                                   1
(2 of 18), Page 2 of 18          Case: 24-162, 01/17/2024, DktEntry: 4.2, Page 2 of 18


      1:22-cr-00644-JSR-2 Notice has been delivered by other means to:




                                                               2
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                                                                                 CLOSED,APPEAL,ECF,INTAPP
                                            U.S. District Court
                               Southern District of New York (Foley Square)
                     CRIMINAL DOCKET FOR CASE #: 1:22−cr−00644−JSR All Defendants

              Case title: USA v. VEREEN                                Date Filed: 11/30/2022

                                                                       Date Terminated: 01/12/2024

              Assigned to: Judge Jed S. Rakoff

              Defendant (1)
              Keith Vereen                           represented by Edward Vincent Sapone
              TERMINATED: 10/20/2023                                Sapone & Petrillo, LLP
              also known as                                         40 Fulton Street
              Sealed Defendant 1                                    17th Floor
              TERMINATED: 10/20/2023                                New York, NY 10038
                                                                    212−349−9000
                                                                    Fax: 347−408−0492
                                                                    Email: ed@saponepetrillo.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: CJA Appointment

              Pending Counts                                       Disposition
              18:371.F CONSPIRACY TO COMMIT                        IMPRISONMENT: Twenty Four (24) months.
              GUN TRAFFICKING                                      SUPERVISED RELEASE: Three (3) years.
              (1)

              Highest Offense Level (Opening)
              Felony

              Terminated Counts                                    Disposition
              18:922A.F
              IMPORTING/MANUFACTURING                              Dismissed
              FIREARMS (GUN TRAFFICKING)
              (2)

              Highest Offense Level (Terminated)
              Felony

              Complaints                                           Disposition
              None

              Assigned to: Judge Jed S. Rakoff

              Defendant (2)
              Steven Perez                           represented by Zawadi S Baharanyi
              TERMINATED: 01/12/2024                                Federal Defenders of New York
              also known as                                         52 Duane Street
              Sealed Defendant 2                                    10th Fl
              TERMINATED: 01/12/2024                                New York, NY 10007
              also known as                                         917−612−2753
              Lucha                                                 Email: zawadi_baharanyi@fd.org
              TERMINATED: 01/12/2024                                LEAD ATTORNEY
(4 of 18), Page 4 of 18        Case: 24-162, 01/17/2024, DktEntry: 4.2, Page 4 of 18

                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Public Defender or Community
                                                                   Defender Appointment

                                                                   Amanda Joy Mayo
                                                                   Sullivan & Cromwell LLP
                                                                   125 Broad Street
                                                                   New York, NY 10004
                                                                   212−558−3449
                                                                   Email: mayoa@sullcrom.com
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Public Defender or Community
                                                                   Defender Appointment

              Pending Counts                                       Disposition
              18:371.F CONSPIRACY TO RECEIVE
              FIREARMS FROM OUTSIDE                                IMPRISONMENT: Sixteen (16) months.
              STATES OF RESIDENCE                                  SUPERVISED RELEASE: Three (3) years.
              (1s)
              18:922E.F INTERSTATE SHIPMENTS
              (INTERSTATE TRANSPORT OF
              FIREARMS)
              (2s)

              Highest Offense Level (Opening)
              Felony

              Terminated Counts                                    Disposition
              18:922A.F
              IMPORTING/MANUFACTURING
              FIREARMS (INTERSTATE                                 Dismissed
              TRANSPORT OR RECEIPT OF
              FIREARMS)
              (3)

              Highest Offense Level (Terminated)
              Felony

              Complaints                                           Disposition
              None


              Plaintiff
              USA                                       represented by Ashley Carolyn Nicolas
                                                                       DOJ−USAO
                                                                       1 Saint Andrews Plaza
                                                                       New York, NY 10001
                                                                       646−734−3677
                                                                       Email: ashley.nicolas2@usdoj.gov
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED
                                                                       Designation: Assistant US Attorney

                                                                       Lucas Estlund Issacharoff
                                                                       United States Attorney's Office
                                                                       Southern District Of New York
                                                                       86 Chambers Street, Third Floor
                                                                       New York, NY 10007
(5 of 18), Page 5 of 18         Case: 24-162, 01/17/2024, DktEntry: 4.2, Page 5 of 18

                                                                               212−637−2737
                                                                               Fax: 212−637−2702
                                                                               Email: Lucas.Issacharoff@usdoj.gov
                                                                               ATTORNEY TO BE NOTICED
                                                                               Designation: Assistant US Attorney

                                                                               Madison Reddick Smyser
                                                                               DOJ−USAO
                                                                               U.S. Attorney's Office, SDNY
                                                                               One Saint Andrew's Plaza
                                                                               New York, NY 10007
                                                                               212−637−2381
                                                                               Email: madison.smyser@usdoj.gov
                                                                               ATTORNEY TO BE NOTICED
                                                                               Designation: Assistant US Attorney

                                                                               Sarah Mortazavi
                                                                               United States Attorney's Office, SDNY
                                                                               One Saint Andrew's Plaza
                                                                               New York, NY 10007
                                                                               212−637−2520
                                                                               Email: sarah.mortazavi@usdoj.gov
                                                                               ATTORNEY TO BE NOTICED
                                                                               Designation: Assistant US Attorney

               Date Filed   #     Docket Text
               11/30/2022   2 SEALED INDICTMENT as to Sealed Defendant 1 (1) count(s) 1, 2, Sealed Defendant
                              2 (2) count(s) 3. (jm) (Entered: 12/06/2022)
               12/01/2022   1 SEALED DOCUMENT placed in vault. (jus) (Entered: 12/01/2022)
               12/06/2022   3 Order to Unseal Indictment as to Sealed Defendant 1, Sealed Defendant 2. (Signed by
                              Magistrate Judge Valerie Figueredo on 12/6/22)(jm) (Entered: 12/06/2022)
               12/06/2022         INDICTMENT UNSEALED as to Keith Vereen, Steven Perez. (jm) (Entered:
                                  12/06/2022)
               12/06/2022         Case Designated ECF as to Keith Vereen, Steven Perez. (jm) (Entered: 12/06/2022)
               12/06/2022         Case as to Keith Vereen, Steven Perez ASSIGNED to Judge Jed S. Rakoff. (jm)
                                  (Entered: 12/06/2022)
               12/06/2022         Attorney update in case as to Keith Vereen, Steven Perez. Attorney Ashley Carolyn
                                  Nicolas for USA added. (jm) (Entered: 12/06/2022)
               12/06/2022         Arrest of Keith Vereen in the United States District Court − Southern District of
                                  Georgia. (jm) (Entered: 12/07/2022)
               12/07/2022   6 Rule 5(c)(3) Documents Received as to Keith Vereen from the United States District
                              Court − Southern District of Georgia. (jm) (Entered: 12/07/2022)
               12/07/2022         Arrest of Steven Perez. (jbo) (Entered: 12/08/2022)
               12/07/2022   7 CJA 23 Financial Affidavit by Steven Perez. Zawadi Bharanyi appointed counsel.
                              APPROVED. (Signed by Magistrate Judge Valerie Figueredo) (jbo) (Entered:
                              12/08/2022)
               12/07/2022         Attorney update in case as to Steven Perez. Attorney Zawadi S Baharanyi for Steven
                                  Perez added. (jbo) (Entered: 12/08/2022)
               12/07/2022   8 Minute Entry for proceedings held before Magistrate Judge Valerie Figueredo: Initial
                              Appearance as to Steven Perez held on 12/7/2022. Bond Hearing as to Steven Perez
                              held on 12/7/2022. Defendant present with Federal Defender Zawadi Baharanyi.
                              AUSA Ashley Nicholas present for the Government. Voluntary surrender. BAIL
                              DISPOSITION: Agreed conditions of release; $30,000 Personal recognizance bond;
                              With three financially responsible persons cosigners; Travel restricted SDNY/EDNY;
                              and to appear for his MA court proceeding; Surrender travel documents and no new
(6 of 18), Page 6 of 18      Case: 24-162, 01/17/2024, DktEntry: 4.2, Page 6 of 18

                                applications; Pretrial supervision as directed by Pretrial Services; Mental health
                                evaluation and treatment; Deft to submit to urinalysis, if positive add condition of drug
                                testing and treatment; Home incarceration; Location monitoring technology; Deft not
                                to possess firearm, destructive device, other weapon; Deft to be released on own
                                signature; Plus location monitoring on 12/8/22; Remaining conditions to be met by
                                three weeks; No contact with co−defendant or co−conspirators except in presence of
                                counsel; Exception to home incarceration on Saturdays from 9am to 7pm to meet with
                                son, with locations predetermined by Pretrial. [**Arraignment Conference before
                                District Judge on 12/9/22.] (jbo) (Entered: 12/08/2022)
               12/07/2022    9 Appearance Bond Entered as to Steven Perez: $30,000 Personal recognizance bond;
                               To be cosigned by three financially responsible persons; Additional conditions..... (jbo)
                               (Main Document 9 replaced on 2/1/2023) (jbo). (Entered: 12/08/2022)
               12/09/2022       Minute Entry for proceedings held before Judge Jed S. Rakoff: Arraignment as to
                                Steven Perez (2) held on 12/9/2022. Present were the defendant and his counsel,
                                Zawadi Baharanyi, AUSA Ashley Nicolas for the Government and a court reporter.
                                Defendant is arra8gned, pleads not guilty. Courts decision : Discovery closes 12/30/22,
                                any motions shall be filed by 1/27/23, a pretrial conference shall be held on 2/3/23 at
                                4:00pm in courtroom 14B of 500 Pearl Street, New York City, NY. Time is excluded
                                in the interest of justice, pursuant to Section 3161 of Title 18. (Discovery due by
                                12/30/2022. Motions due by 1/27/2023. Pretrial Conference set for 2/3/2023 at 04:00
                                PM in Courtroom 14B, 500 Pearl Street, New York, NY 10007 before Judge Jed S.
                                Rakoff.) Plea entered by Steven Perez (2) Count 3 Not Guilty. (lnl) (Entered:
                                12/12/2022)
               12/16/2022   10 ORDER as to Keith Vereen. The C.J.A. attorney assigned to receive cases on this day,
                               Edward Sapone is hereby ordered to assume representation of the defendant in the
                               above captioned matter, NUNC−PRO−TUNC. SO ORDERED. (Signed by Judge Jed
                               S. Rakoff on 12/16/2022)(bw) (Entered: 12/16/2022)
               12/16/2022       Attorney update in case as to Keith Vereen (1). Attorney Edward Vincent Sapone for
                                Keith Vereen added. (bw) (Entered: 12/16/2022)
               12/16/2022       NOTICE OF HEARING as to (22−Cr−644−1) Keith Vereen. The arraignment on
                                Monday 12/19/2022 in US v. Vereen, 22−cr−644 is moved from 4:00 to 3:30. (
                                Arraignment set for 12/19/2022 at 03:30 PM before Judge Jed S. Rakoff. ) (bw)
                                (Entered: 12/16/2022)
               12/19/2022       Minute Entry for proceedings held before Judge Jed S. Rakoff: Pretrial Conference as
                                to (22−Cr−644−01) Keith Vereen held on 12/19/2022. On December 19, 2022 Judge
                                Rakoff held a PTC. Present were the defendant and his counsel, Edward Sapone,
                                AUSA Ashley Nicolas for the Government and a court reporter. Court's decision: close
                                of discovery 12/30/2022; all defense motions due 1/27/2023, a PTC will be heard
                                2/3/23 at 4:00pm. Time is excluded until the next pretrial conference in the interest of
                                justice, pursuant to Section 3161 of Title 18. (bw) (Entered: 01/09/2023)
               12/19/2022       ORAL ORDER as to (22−Cr−644−01) Keith Vereen. Time excluded from 12/19/2022
                                until 2/3/2023. Discovery due by 12/30/2022. Motions due by 1/27/2023. Pretrial
                                Conference set for 2/3/2023 at 04:00 PM before Judge Jed S. Rakoff. (bw) (Entered:
                                01/09/2023)
               12/20/2022   11 Minute Entry for proceedings held before Judge Jed S. Rakoff: Initial Appearance as
                               to Keith Vereen held on 12/20/2022. Arraignment as to Keith Vereen (1) Count 1,2
                               held on 12/20/2022. Bond Hearing as to Keith Vereen held on 12/20/2022. AUSA
                               Ashley Nicolas for the Government. Edward Sappone for the Defendant. BAIL
                               DISPOSITION: AGREED CONDITIONS OF RELEASE: $15,000.00 PRB; TRAVEL
                               RESTRICTED TO SDNY/EDNY/and S.D.Ga. Travel (travel in SDNY/EDNY only
                               for case−related purposes); SURRENDER TRAVEL DOCUMENTS (& NO NEW
                               APPLICATIONS); PRETRIAL SUPERVISION: AS DIRECTED BY PRETRIAL
                               SERVICES; DEF. TO CONTINUE OR SEEK EMPLOYMENT; DEF. NOT TO
                               POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON; DEF. TO BE
                               RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
                               REMAINING CONDITIONS TO BE MET BY: 12/30/22. Defendant to avoid contact
                               with any person who is or may be a victim or witness in the investigation or
                               prosecution, as well as with any codefendants unless arranged by and in the presence
                               of counsel. DEF. ARRAIGNED; PLEADS NOT GUILTY. SPEEDY TRIAL TIME
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                                EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL 2/3/23. (ap) (Entered:
                                12/21/2022)
               12/20/2022       Minute Entry for proceedings held before Judge Jed S. Rakoff: Plea entered by Keith
                                Vereen (1) Count 1,2 Not Guilty. (ap) (Entered: 12/21/2022)
               12/20/2022   14 Appearance Bond Entered as to Keith Vereen: $15,000 Personal recognizance bond;
                               Additional conditions..... (jbo) (Entered: 01/03/2023)
               12/22/2022   12 TRANSCRIPT of Proceedings as to Steven Perez re: Conference held on 12/9/22
                               before Judge Jed S. Rakoff. Court Reporter/Transcriber: George Malinowski, (212)
                               805−0300, Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               1/12/2023. Redacted Transcript Deadline set for 1/23/2023. Release of Transcript
                               Restriction set for 3/22/2023. (Moya, Goretti) (Entered: 12/22/2022)
               12/22/2022   13 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Steven Perez. Notice is
                               hereby given that an official transcript of a Conference proceeding held on 12/9/22 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (Moya, Goretti) (Entered: 12/22/2022)
               01/18/2023   17 Writ to remove the GPS monitoring device base on Res Judicata and the Constitution
                               the supreme Law of the land. Document filed by (22−Cr−644−2) Steven Perez. (bw)
                               (Entered: 01/20/2023)
               01/18/2023   18 LETTER by (22−Cr−644−2) Steven Perez from Lucha El dated 1/10/2023. (bw)
                               (Entered: 01/20/2023)
               01/19/2023   15 TRANSCRIPT of Proceedings as to Keith Vereen re: Conference held on 12/19/22
                               before Judge Jed S. Rakoff. Court Reporter/Transcriber: George Malinowski, (212)
                               805−0300, Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               2/9/2023. Redacted Transcript Deadline set for 2/21/2023. Release of Transcript
                               Restriction set for 4/19/2023. (Moya, Goretti) (Entered: 01/19/2023)
               01/19/2023   16 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Keith Vereen. Notice is
                               hereby given that an official transcript of a Conference proceeding held on 12/19/22
                               has been filed by the court reporter/transcriber in the above−captioned matter. The
                               parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (Moya, Goretti) (Entered: 01/19/2023)
               01/23/2023       Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                as to Keith Vereen, Steven Perez held on 1/23/2023. A teleconference was held on
                                1/23/23 without transcription or recording. AUSA Ashley Nichols for the Government
                                and Zawadi Baharanyi of the Federal Defenders for defendant Steven Perez a/k/a
                                Lucha El were present, and Edward Sapone of Sapone & Petrillo LLP for defendant
                                Keith Vereen participated via email. Any motions by either defendant will be due on
                                2/3/23, rather than 1/27/23. The pre−trial conference previously set for 2/3/23 is
                                adjourned to 2/13/23 at 4:30 PM. (Motions due by 2/3/2023. Pretrial Conference set
                                for 2/13/2023 at 04:30 PM before Judge Jed S. Rakoff.) (lnl) (Entered: 01/24/2023)
               01/31/2023   19 MOTION to Modify Conditions of Release . Document filed by Steven Perez.
                               (Baharanyi, Zawadi) (Entered: 01/31/2023)
               01/31/2023       Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                as to Steven Perez held on 1/31/2023. A teleconference was held 1/31/2023 without
                                transcription or recording. Zawadi Baharanyi of the Federal Defenders for defendant
                                Steven Perez a/k/a Lucha El and AUSA Ashley Nicolas for the Government were
                                present. Plaintiff is directed to submit a proposed order modifying Mr. Lucha's
                                conditions of bond as consented to by Pretrial Services. A hearing on any further bail
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                                modification is set for Wednesday, February 8 at 9:00 AM at 500 Pearl St., Courtroom
                                14B. Plaintiff may (but is not required to) file any written submission in support of her
                                application by EOD on Monday, 2/6. (Bond Hearing set for 2/8/2023 at 09:00 AM in
                                Courtroom 14B, 500 Pearl Street, New York, NY 10007 before Judge Jed S. Rakoff)
                                (ap) (Entered: 02/01/2023)
               02/02/2023   20 MEMO ENDORSEMENT 19 Motion to Modify Conditions of Release as to Steven
                               Perez. To respectfully request that the Court remove the condition of home
                               incarceration and place Mr. Lucha on home detention...ENDORSEMENT...SO
                               ORDERED (Signed by Judge Jed S. Rakoff on 2/1/2023) (jw) (Entered: 02/02/2023)
               02/04/2023   21 MOTION to Dismiss and Motion to Suppress Evidence. Document filed by Steven
                               Perez. (Baharanyi, Zawadi) (Entered: 02/04/2023)
               02/04/2023   22 MEMORANDUM OF LAW in Support by Steven Perez re: 21 MOTION to Dismiss
                               and Motion to Suppress Evidence. filed by Steven Perez . (Baharanyi, Zawadi)
                               (Entered: 02/04/2023)
               02/04/2023   23 DECLARATION of Zawadi S. Baharanyi in Support as to Steven Perez re: 21
                               MOTION to Dismiss and Motion to Suppress Evidence.. (Baharanyi, Zawadi)
                               (Entered: 02/04/2023)
               02/06/2023   24 NOTICE OF ATTORNEY APPEARANCE Madison Reddick Smyser appearing for
                               USA. (Smyser, Madison) (Entered: 02/06/2023)
               02/06/2023   25 MOTION to Modify Conditions of Release . Document filed by Steven Perez.
                               (Baharanyi, Zawadi) (Entered: 02/06/2023)
               02/07/2023       Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                as to Steven Perez held on 2/7/2023. A teleconference was held on 2/6/23 without
                                transcription or recording. AUSAs Ashley Nichols and Maddie Reddick Smyser for
                                the Government and Zawadi Baharanyi of the Federal Defenders for defendant Lucha
                                El (Steven Perez) were present, and Edward Sapone of Sapone & Petrillo LLP for
                                defendant Keith Vereen participated via email. The bail hearing for defendant Lucha is
                                reset from 2/8/23 at 9:00 AM to 2/13/23 at 4:30 PM. The final pretrial conference as to
                                both defendants is adjourned from 2/13/23 to 3/6/23 at 4:45 PM. The Government
                                should file its opposition to defendant Luchas motions on or before 2/28/23.
                                (Responses due by 2/28/2023 Bond Hearing set for 2/13/2023 at 04:30 PM before
                                Judge Jed S. Rakoff. Final Pretrial Conference set for 3/6/2023 at 04:45 PM before
                                Judge Jed S. Rakoff.) (lnl) (Entered: 02/07/2023)
               02/09/2023   26 ENDORSED LETTER as to (22−Cr−644−2) Steven Perez addressed to Judge Jed S.
                               Rakoff from Attorney Zawadi S. Baharanyi dated February 9, 2023 re: I write with the
                               consent of the Government and the Pretrial Services Agency to respectfully request
                               that the Court allow Mr. Lucha to leave his home tomorrow to attend the funeral
                               services of a family member. ENDORSEMENT: SO ORDERED. (Signed by Judge
                               Jed S. Rakoff)(bw) (Entered: 02/13/2023)
               02/13/2023       NOTICE OF HEARING as to Steven Perez: The bail hearing at 4:30 2/13/23 is
                                adjourned to 2:30 2/15/23. ***Bond Hearing set for 2/15/2023 at 02:30 PM before
                                Judge Jed S. Rakoff. (jbo) (Entered: 02/13/2023)
               02/15/2023       Minute Entry for proceedings held before Judge Jed S. Rakoff: Bond Hearing as to
                                Steven Perez held on 2/15/2023.. Present were the defendant and his counsel Zawadi
                                Baharanyi, AUSAs Ashley Nichols and Madison Smyser for the Government, Pretrial
                                Services Officer Courtney Defeo, and a court reporter. The defendant's application for
                                bail modifications is granted in part to be memorialized in a proposed stipulation by
                                the parties. (jbo) Modified on 2/15/2023 (jbo). (Entered: 02/15/2023)
               02/16/2023   27 ENDORSED LETTER as to Steven Perez addressed to Judge Jed S. Rakoff from
                               Ashley Nicholas, dated 2/15/2023, re: Modification of bond. ENDORSEMENT: SO
                               ORDERED. (Signed by Judge Jed S. Rakoff on 2/16/2023) (lnl) (Entered: 02/16/2023)
               02/23/2023       TRANSCRIPT of Proceedings as to Steven Perez re: Hearing held on 12/7/2022
                                before Magistrate Judge Valerie Figueredo. Court Reporter/Transcriber: Adrienne
                                Mignano (212) 805−0300, Transcript may be viewed at the court public terminal or
                                purchased through the Court Reporter/Transcriber before the deadline for Release of
                                Transcript Restriction. After that date it may be obtained through PACER. Redaction
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                                Request due 3/16/2023. Redacted Transcript Deadline set for 3/27/2023. Release of
                                Transcript Restriction set for 5/24/2023. (js) (js). (Entered: 02/23/2023)
               02/23/2023   28 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Steven Perez. Notice is
                               hereby given that an official transcript of a Hearing proceeding held on 12/7/2022 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (js) (Entered: 02/23/2023)
               02/27/2023   29 NOTICE OF ATTORNEY APPEARANCE Lucas Estlund Issacharoff appearing for
                               USA. (Issacharoff, Lucas) (Entered: 02/27/2023)
               02/28/2023   30 MEMORANDUM in Opposition by USA as to Steven Perez re 21 MOTION to
                               Dismiss and Motion to Suppress Evidence.. (Smyser, Madison) (Entered: 02/28/2023)
               02/28/2023       Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                as to Keith Vereen held on 2/28/2023. A teleconference was held on 2/28/2023
                                without transcription or recording. AUSAs Ashley Nichols and Maddie Reddick
                                Smyser for the Government and Zawadi Baharanyi of the Federal Defenders for
                                defendant Lucha El were present, and Edward Sapone of Sapone & Petrillo LLP for
                                defendant Keith Vereen participated via email. Defendant Lucha El may submit a
                                reply in support of his motions by 3/7/23. The final pretrial conference as to both
                                defendants is adjourned from 3/6/23 to 3/15/23 at 2:00 PM. (Replies due by 3/7/2023.
                                Final Pretrial Conference set for 3/15/2023 at 02:00 PM before Judge Jed S. Rakoff.)
                                (lnl) (Entered: 03/03/2023)
               03/06/2023   31 NOTICE OF ATTORNEY APPEARANCE: Amanda Joy Mayo appearing for Steven
                               Perez. Appearance Type: Public Defender or Community Defender Appointment.
                               (Mayo, Amanda) (Entered: 03/06/2023)
               03/06/2023   32 REPLY MEMORANDUM OF LAW in Support as to Steven Perez re: 21 MOTION to
                               Dismiss and Motion to Suppress Evidence. . (Mayo, Amanda) (Entered: 03/06/2023)
               03/10/2023   33 TRANSCRIPT of Proceedings as to Steven Perez re: Hearing held on 2/15/2023
                               before Judge Jed S. Rakoff. Court Reporter/Transcriber: Paula Horovitz, (212)
                               805−0348, Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               3/31/2023. Redacted Transcript Deadline set for 4/10/2023. Release of Transcript
                               Restriction set for 6/8/2023. (McGuirk, Kelly) (Entered: 03/10/2023)
               03/10/2023   34 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Steven Perez. Notice is
                               hereby given that an official transcript of a Hearing proceeding held on 2/15/2023 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 03/10/2023)
               03/15/2023       MEMORANDUM TO THE DOCKET CLERK as to Steven Perez. A trial date is set
                                for May 22, 2023. (jw) (Entered: 03/15/2023)
               03/15/2023   35 ORDER as to Steven Perez. Today (3/15/23), the Court held a pretrial conference on
                               defendant Lucha El Libertad (a/k/a Steven Perez)'s motion to dismiss the indictment
                               against him and to suppress evidence. On consent of the parties, the Court set a trial
                               date of 5/22/23 pending resolution of defendant's motions. Because the Court finds the
                               time between now and 5/22/23 is necessary to allow rulings on defendant's motions
                               and to allow counsel to adequately prepare for trial and for other reasons reflected in
                               the transcript of today's hearings, the Court finds that the ends of justice in delaying
                               trial through 5/22/23 substantially outweigh the best interests of the public and the
                               defendant in a speedy trial. As such, the Court excludes all time between now and
                               5/22/23 under 18 U.S.C. § 3161(h) (7) of the Speedy Trial Act. Time excluded from
                               3/15/2023 until 5/22/2023. (Signed by Judge Jed S. Rakoff on 3/15/2023)(jw)
                               (Entered: 03/15/2023)
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              03/15/2023         Minute Entry for proceedings held before Judge Jed S. Rakoff:Change of Plea Hearing
                                 as to Keith Vereen held on 3/15/2023. Present were the defendant and his counsel,
                                 Edward Sapone, AUSAs Ashley Nicolas and Madison Smyser for the Government and
                                 a court reporter. The defendant waives the public reading and withdraws his plea of
                                 not guilty and pleads guilty as charged to count 1 only. SENS 7/19/2023 at 4:0pm. PSI
                                 referral made to Probation. (jw) (Entered: 03/16/2023)
              03/15/2023         Change of Not Guilty Plea to Guilty Plea as to Keith Vereen (1) Count 1. (jw)
                                 (Entered: 03/16/2023)
              03/15/2023         Minute Entry for proceedings held before Judge Jed S. Rakoff: Plea entered by Keith
                                 Vereen (1) Guilty as to Count 1. (jw) (Entered: 03/16/2023)
              03/15/2023         Set/Reset Deadlines/Hearings as to Keith Vereen: Sentencing set for 7/19/2023 at
                                 04:00 PM before Judge Jed S. Rakoff (jw) (Entered: 03/16/2023)
              03/15/2023         Minute Entry for proceedings held before Judge Jed S. Rakoff Argument on the
                                 motions to dismiss and suppress at 21 on the docket. Present were the defendant and
                                 his counsel Zawadi Baharanyi and Amanda May, AUSAs Lucas Issacharoff, Madison
                                 Smyser and Ashley Nicolas for the Governmentan a court reporter. Further briefing is
                                 due from the Government on 3/23/2023, from the defense 3/29/2023. TDS May 22,
                                 2023. Bail continued. (Defense due by 3/29/2023., Government due by 3/23/2023)
                                 (jw) (Entered: 03/16/2023)
              03/16/2023    36 CONSENT PRELIMINARY ORDER OF FORFEITURE AS TO SPECIFIC
                               PROPERTY as to Keith Vereen. IT IS HEREBY STIPULATED AND AGREED, by
                               and between the United Statesof America, by its attorney Damian Williams, United
                               States Attorney, Assistant United States Attorneys, Ashley C. Nicolas, Madison
                               Reddick Smyser of counsel, and the Defendant, and his counsel, Edward V. Sapone,
                               Esq., that As a result of the offense charged in Count One of the Indictment, to which
                               the Defendant pled guilty, all of the Defendant's right, title and interest in the Specific
                               Property is hereby forfeited to the United States for disposition in accordance with the
                               law, subject to the provisions of Title 21, United States Code, Section 853. Pursuant to
                               Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this Consent Preliminary
                               Order of Forfeiture as to Specific Property is final as to the Defendant, KEITH
                               VEREEN, and shall be deemed part of the sentence of the Defendant, and shall be
                               included in the judgment of conviction therewith (Signed by Judge Jed S. Rakoff on
                               3/15/2023)(jw) (Entered: 03/16/2023)
              03/22/2023    37 ORDER as to (22−Cr−644−2) Steven Perez. At a 3/15/23 conference, this Court
                               previously set a trial date for defendant Lucha El Libertad (named in the indictment as
                               Steven Perez) of 5/22/23, pending resolution of Mr. El's motions. The trial date was at
                               that time agreed to by all the parties. The Court also excluded time under 18 U.S.C. §
                               3161(h)(7), finding the time between then and 5/22/23 necessary to allow
                               supplemental briefing and ruling on defendant's motions and to allow counsel to
                               adequately prepare for trial, among other reasons. See 3/15/23 Order, Dkt. 35. Counsel
                               for both parties have since informed the Court by email and during a 3/21/23
                               teleconference that Mr. El is also set to stand trial in Massachusetts state court on
                               5/22/23 in a seven−defendant trial in which Mr. El is representing himself pro se. As
                               that trial date was apparently set before this Court's 3/15/23 conference, the Court
                               grants Mr. El's application to adjourn the 5/22/23 trial date. In light of the number of
                               pre−existing trial commitments counsel for Mr. El has throughout this Spring and
                               Summer and the Court's own busy preexisting trial schedule, the earliest date on which
                               the Court and parties would all be prepared and available to begin trial is 8/28/23. As
                               such, the Court resets Mr. El's trial to 8/28/23 (pending resolution of his motions) and
                               hereby excludes all time between then and now under 18 U.S.C. § 3161(h)(7) of the
                               Speedy Trial Act, finding that such time is necessary to enable Mr. El to prepare for
                               and stand trial at the previously scheduled criminal trial in Massachusetts in which he
                               is representing himself pro se, to allow supplemental briefing and ruling on Mr. El's
                               motions, to allow counsel for both sides to adequately prepare for trial, and to
                               accommodate the already very busy schedules of Mr. El's counsel, the Government,
                               and this Court. For these and other reasons, the Court finds that the ends of justice in
                               delaying trial through 8/28/23 substantially outweigh the best interests of the public
                               and the defendant in a speedy trial. SO ORDERED. ( Ready for Trial by 8/28/2023.
                               )(Signed by Judge Jed S. Rakoff on 3/22/2023)(bw) (Entered: 03/22/2023)
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              03/22/2023        NOTICE OF HEARING as to (22−Cr−644−2) Steven Perez, aka/Lucha El. The trial is
                                adjourned to August 28, 2023 at 9:30am. ( Jury Trial set for 8/28/2023 at 09:30 AM
                                before Judge Jed S. Rakoff. ) (bw) (Entered: 03/22/2023)
              03/22/2023    38 RESPONSE in Opposition by USA as to Steven Perez re: 21 MOTION to Dismiss and
                               Motion to Suppress Evidence.. (Issacharoff, Lucas) (Entered: 03/22/2023)
              03/23/2023    39 TRANSCRIPT of Proceedings as to Keith Vereen, Steven Perez re: Conference held
                               on 3/15/23 before Judge Jed S. Rakoff. Court Reporter/Transcriber: Pamela Utter,
                               (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                               through the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               4/13/2023. Redacted Transcript Deadline set for 4/24/2023. Release of Transcript
                               Restriction set for 6/21/2023. (Moya, Goretti) (Entered: 03/23/2023)
              03/23/2023    40 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Keith Vereen, Steven
                               Perez. Notice is hereby given that an official transcript of a Conference proceeding
                               held on 3/15/23 has been filed by the court reporter/transcriber in the above−captioned
                               matter. The parties have seven (7) calendar days to file with the court a Notice of
                               Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                               may be made remotely electronically available to the public without redaction after 90
                               calendar days.... (Moya, Goretti) (Entered: 03/23/2023)
              03/23/2023    41 TRANSCRIPT of Proceedings as to Keith Vereen, Steven Perez re: Plea held on
                               3/15/23 before Judge Jed S. Rakoff. Court Reporter/Transcriber: Pamela Utter, (212)
                               805−0300, Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               4/13/2023. Redacted Transcript Deadline set for 4/24/2023. Release of Transcript
                               Restriction set for 6/21/2023. (Moya, Goretti) (Entered: 03/23/2023)
              03/23/2023    42 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Keith Vereen, Steven
                               Perez. Notice is hereby given that an official transcript of a Plea proceeding held on
                               3/15/23 has been filed by the court reporter/transcriber in the above−captioned matter.
                               The parties have seven (7) calendar days to file with the court a Notice of Intent to
                               Request Redaction of this transcript. If no such Notice is filed, the transcript may be
                               made remotely electronically available to the public without redaction after 90
                               calendar days.... (Moya, Goretti) (Entered: 03/23/2023)
              03/29/2023    43 RESPONSE in Support of Motion by Steven Perez re: 21 MOTION to Dismiss and
                               Motion to Suppress Evidence.. (Baharanyi, Zawadi) (Entered: 03/29/2023)
              04/10/2023    44 MOTION for Protective Order . Document filed by USA as to Keith Vereen, Steven
                               Perez. (Attachments: # 1 Exhibit Proposed Protective Order)(Nicolas, Ashley)
                               (Entered: 04/10/2023)
              04/19/2023    45 PROTECTIVE ORDER as to Keith Vereen, Steven Perez...regarding procedures to be
                               followed that shall govern the handling of confidential material. SO ORDERED:
                               (Signed by Judge Jed S. Rakoff on 4/18/2023)(bw) (Entered: 04/19/2023)
              04/21/2023    46 ENDORSED LETTER as to Steven Perez ("A/K/A Lucha El") addressed to Judge Jed
                               S. Rakoff from Zawadi Baharanyi dated 4/21/2022 re: I write to request that Lucha El
                               be permitted to travel to the District of Massachusetts from Sunday, April 23 to
                               Monday, April 24 for the purposes of attending a court appearance..ENDORSEMENT:
                               SO ORDERED. (Signed by Judge Jed S. Rakoff on 4/21/23)(jw) (Entered:
                               04/21/2023)
              05/17/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                as to Steven Perez held on 5/17/2023. On May 17, 2023, a teleconference was held
                                without transcription or recording. Zawadi Baharanyi for defendant Lucha El and
                                AUSAs Maddie Smyser and Ashley Nicolas for the Government were present. A
                                hearing on defendant Lucha El's motion to suppress is set for Tuesday, May 30 at 2:00
                                PM. (Motion Hearing set for 5/30/2023 at 02:00 PM before Judge Jed S. Rakoff.) (ap)
                                (Entered: 05/18/2023)
              05/30/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Motion Hearing as to
                                Steven Perez held on 5/30/2023. On May 30, 2023 Judge Rakoff held a hearing on a
                                Motion to Suppress. Present were the defendant and his counsel Zawadi Baharanyi and
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                                Amanda Mayo, AUSAs Ashley Nicolas, Lucas Issacharoff and Madison Smyser and a
                                court reporter. (lnl) (Entered: 06/01/2023)
              06/08/2023    49 ORDER as to Steven Perez: Following full briefing and argument on defendant Lucha
                               El Libertad1's motion to dismiss the indictment and full briefing, argument, and an
                               evidentiary hearing on defendant's motion to suppress the results of a 6/23/21 search,
                               the Court hereby denies both motions. An opinion explaining the rationale for this
                               decision will issue indue course. (Signed by Judge Jed S. Rakoff on 6/8/2023) (ap)
                               (Entered: 06/08/2023)
              06/26/2023    50 TRANSCRIPT of Proceedings as to Steven Perez re: Hearing held on 5/30/2023
                               before Judge Jed S. Rakoff. Court Reporter/Transcriber: Alena Lynch, (212)
                               805−0300, Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               7/17/2023. Redacted Transcript Deadline set for 7/27/2023. Release of Transcript
                               Restriction set for 9/25/2023. (McGuirk, Kelly) (Entered: 06/26/2023)
              06/26/2023    51 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Steven Perez. Notice is
                               hereby given that an official transcript of a Hearing proceeding held on 5/30/2023 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 06/26/2023)
              07/07/2023    52 OPINION AND ORDER as to Steven Perez. For the foregoing reasons, the Court
                               reaffirms its prior denial of defendant Lucha El's motion to dismiss and to suppress.
                               The Clerk is directed to close both motions on the docket (Dkt. 21). (Signed by Judge
                               Jed S. Rakoff on 7/7/2023)(jw) (Entered: 07/07/2023)
              07/12/2023    53 MOTION to Postpone Sentencing . Document filed by Keith Vereen. (Sapone,
                               Edward) (Entered: 07/12/2023)
              07/18/2023        NOTICE OF HEARING as to (22−Cr−644−1) Keith Vereen. The sentencing hearing
                                currently scheduled for July 19 is adjourned to August 23, 2023 at 4:30. ( Sentencing
                                set for 8/23/2023 at 04:30 PM before Judge Jed S. Rakoff. ) (bw) (Entered:
                                07/19/2023)
              07/20/2023    54 (S1) SUPERSEDING INDICTMENT FILED as to Steven Perez (2) count(s) 1s, 2s.
                               (jm) (Entered: 07/21/2023)
              08/03/2023    55 NOTICE OF APPEAL (Interlocutory) by Steven Perez a/k/a Lucha from 52 Opinion
                               & Order. (nd) (Entered: 08/11/2023)
              08/11/2023        Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Steven
                                Perez to US Court of Appeals re: 55 Notice of Appeal − Interlocutory. (nd) (Entered:
                                08/11/2023)
              08/11/2023        Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                Electronic Files as to Steven Perez re: 55 Notice of Appeal − Interlocutory were
                                transmitted to the U.S. Court of Appeals. (nd) (Entered: 08/11/2023)
              08/14/2023    56 MOTION in Limine . Document filed by Steven Perez. (Attachments: # 1 Exhibit A, #
                               2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Mayo,
                               Amanda) (Entered: 08/14/2023)
              08/14/2023    57 MOTION in Limine . Document filed by USA as to Steven Perez. (Attachments: # 1
                               Exhibit Latimer BWC, # 2 Exhibit Text Message Excerpt 1, # 3 Exhibit Text Message
                               Excerpt 2, # 4 Exhibit Text Message Excerpt 3, # 5 Exhibit Note, # 6 Exhibit Search
                               History)(Smyser, Madison) (Entered: 08/14/2023)
              08/16/2023        NOTICE OF HEARING as to Keith Vereen. The sentencing hearing currently
                                scheduled for August 23, 2023, at 4:30 PM is adjourned to September 18, 2023, at
                                2:30 PM. (Sentencing set for 9/18/2023 at 02:30 PM before Judge Jed S. Rakoff) (ap)
                                (Entered: 08/16/2023)
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              08/21/2023    58 NOTICE OF ATTORNEY APPEARANCE Sarah Mortazavi appearing for USA.
                               (Mortazavi, Sarah) (Entered: 08/21/2023)
              08/21/2023    59 Proposed Jury Instructions by USA as to Steven Perez. (Nicolas, Ashley) (Entered:
                               08/21/2023)
              08/21/2023    60 RESPONSE in Opposition by Steven Perez re: 57 MOTION in Limine .. (Baharanyi,
                               Zawadi) (Entered: 08/21/2023)
              08/21/2023    61 Proposed Jury Instructions by Steven Perez. (Baharanyi, Zawadi) (Entered:
                               08/21/2023)
              08/21/2023    62 MEMORANDUM in Opposition by USA as to Steven Perez re 56 MOTION in
                               Limine .. (Attachments: # 1 Exhibit Latimer BWC)(Smyser, Madison) (Entered:
                               08/21/2023)
              08/22/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                as to Steven Perez held on 8/22/2023. A telephonic conference was held on August 22,
                                2023, without transcription or recording during which counsel for all parties was
                                present. The Court granted the government's unopposed request to file a reply to
                                defendant's opposition to the government's motions in limine (Dkt. 62) limited to
                                addressing defendant's request to exclude the government's expert Andrew Petersohn;
                                the government shall file this reply by no later than the close of business on August 24,
                                2023. A hearing will be held concerning the parties' cross−motions in limine (Dkts. 56,
                                57) on August 25, 2023, at 2:00 PM in courtroom 14B of the Daniel Patrick Moynihan
                                Courthouse, 500 Pearl Street, New York City, New York. The Court granted
                                defendant's unopposed request to file a proposed order modifying defendant's bail
                                conditions. (Responses due by 8/24/2023. Motion Hearing set for 8/25/2023 at 02:00
                                PM in Courtroom 14B, 500 Pearl Street, New York, NY 10007 before Judge Jed S.
                                Rakoff) (ap) (Entered: 08/22/2023)
              08/23/2023    63 PROPOSED EXAMINATION OF JURORS by Steven Perez. (Baharanyi, Zawadi)
                               (Entered: 08/23/2023)
              08/23/2023    64 PROPOSED EXAMINATION OF JURORS by USA as to Steven Perez. (Smyser,
                               Madison) (Entered: 08/23/2023)
              08/24/2023    65 REPLY MEMORANDUM OF LAW in Support by USA as to Steven Perez re: 57
                               MOTION in Limine . Opposition to Defendant's Motion to Preclude Testimony of
                               Andy Petersohn. (Attachments: # 1 Exhibit Petersohn Expert Disclosure, # 2 Exhibit
                               Scales Daubert Hearing Transcript)(Smyser, Madison) (Entered: 08/25/2023)
              08/25/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Pretrial Conference as
                                to Steven Perez held on 8/25/2023. On August 25, 2023 Judge Rakoff held a final
                                pretrial conference during which Motions in Limine were considered. Present were the
                                defendant and his counsel Zawadi Baharanyi and Amanda Mayo− Federal Defenders,
                                AUSA's Ashley Nicolas, Madison Smyser and Sarah Mortazavi for the Government
                                and a court reporter. Court's ruling: Any further pro se submissions received by
                                docketing while this defendant is represented by counsel shall be rejected by the
                                Clerk's Office. Defendants bail conditions continued. (ap) (Entered: 08/25/2023)
              08/28/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Voir Dire held on
                                8/28/2023 as to (22−Cr−644−2) Steven Perez. On August 28, 2023 Judge Rakoff held
                                a jury trial. Present were the defendant and his counsel Zawadi Baharanyi and Amanda
                                Mayo, AUSA Ashley Nicholas, Madison Smyser and Sarah Mortazavi and a court
                                reporter. Jurors impaneled, opening statements are made, evidence is entered. (bw)
                                (Entered: 08/29/2023)
              08/29/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Jury Trial as to Steven
                                Perez held on 8/29/2023. On August 29, 2023 the trial continues, evidence is entered.
                                A charging conference is held. The trial is adjourned until the next morning. (bw)
                                (Entered: 08/30/2023)
              08/30/2023    66 TRANSCRIPT of Proceedings as to Steven Perez re: Oral Argument held on
                               8/25/2023 before Judge Jed S. Rakoff. Court Reporter/Transcriber: Kristen
                               Carannante, (212) 805−0300, Transcript may be viewed at the court public terminal or
                               purchased through the Court Reporter/Transcriber before the deadline for Release of
                               Transcript Restriction. After that date it may be obtained through PACER. Redaction
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                                Request due 9/20/2023. Redacted Transcript Deadline set for 10/2/2023. Release of
                                Transcript Restriction set for 11/28/2023. (McGuirk, Kelly) (Entered: 08/30/2023)
              08/30/2023    67 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Steven Perez. Notice is
                               hereby given that an official transcript of a Oral Argument proceeding held on
                               8/25/2023 has been filed by the court reporter/transcriber in the above−captioned
                               matter. The parties have seven (7) calendar days to file with the court a Notice of
                               Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                               may be made remotely electronically available to the public without redaction after 90
                               calendar days.... (McGuirk, Kelly) (Entered: 08/30/2023)
              08/30/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Jury Trial as to Steven
                                Perez held on 8/30/2023. On August 30, 2023 the trial of the above listed defendant
                                continued before Judge Rakoff. Evidence is entered. At 12:30 the Government rests.
                                At 12:40 the defense rests. The defense counsel makes motions which are denied by
                                the Court. Government makes its summation, defense makes its summation,
                                Government makes its rebuttal closing argument. Court is adjourned until the next
                                morning. (bw); Modified on 8/31/2023 (bw). (Entered: 08/31/2023)
              08/31/2023    68 Proposed Jury Instructions by USA as to Steven Perez. (Smyser, Madison) (Entered:
                               08/31/2023)
              08/31/2023    69 Proposed Jury Instructions by Steven Perez. (Mayo, Amanda) (Entered: 08/31/2023)
              08/31/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Jury Trial as to Steven
                                Perez held on 8/31/2023. On August 31, 2023 Judge Rakoff presided over the
                                continuation of the jury trial for the above listed defendant. Charge by the Court,
                                exceptions to the charge. After Marshal is sworn the jury retires to deliberate. At
                                12:15, after due deliberation, the jury returns a verdict guilty on both counts. Sentence
                                set for 12/4/2023 at 2:00pm. Governments' application to remand defendant granted.
                                PSI referral made to Probation. (Sentencing set for 12/4/2023 at 02:00 PM before
                                Judge Jed S. Rakoff) (ap) (Entered: 08/31/2023)
              08/31/2023        JURY VERDICT as to Steven Perez (2) Guilty on Count 1s,2s. (ap) (Entered:
                                08/31/2023)
              08/31/2023        Oral Order of Referral to Probation for Presentence Investigation and Report as to
                                Steven Perez. (Signed by Judge Jed S. Rakoff on 8/31/2023) (ap) (Entered:
                                08/31/2023)
              08/31/2023    70 THE COURT'S INSTRUCTIONS OF LAW TO THE JURY as to USA v. Steven
                               Perez. [Ct. Ex. 1] (bw) (Entered: 09/01/2023)
              08/31/2023    71 JURY NOTE 1 as to USA v. Steven Perez. (bw) (Entered: 09/01/2023)
              08/31/2023    72 JURY NOTE 2 as to USA v. Steven Perez. (bw) (Entered: 09/01/2023)
              08/31/2023    73 JURY NOTE 3 as to USA v. Steven Perez. (bw) (Entered: 09/01/2023)
              08/31/2023    74 JURY NOTE 4 as to USA v. Steven Perez. (bw) (Entered: 09/01/2023)
              08/31/2023    75 JURY NOTE 5 as to USA v. Steven Perez. (bw) (Entered: 09/01/2023)
              08/31/2023    76 VERDICT as to USA v. Steven Perez. (bw) (Entered: 09/01/2023)
              09/01/2023    77 ORDER as to Steven Perez: ORDERED, that the defendant is hereby remanded to the
                               custody of the United States Marshal. (Signed by Judge Jed S. Rakoff on 8/31/2023)
                               (ap) Modified on 9/7/2023 (ap). (Entered: 09/05/2023)
              09/01/2023    78 NOTICE OF APPEAL (Interlocutory) by Steven Perez from 77 Order. (nd) (Entered:
                               09/08/2023)
              09/08/2023        Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Steven
                                Perez to US Court of Appeals re: 78 Notice of Appeal − Interlocutory. (nd) (Entered:
                                09/08/2023)
              09/08/2023        Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                Electronic Files as to Steven Perez re: 78 Notice of Appeal − Interlocutory were
                                transmitted to the U.S. Court of Appeals. (nd) (Entered: 09/08/2023)
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              09/08/2023    79 TRANSCRIPT of Proceedings as to Steven Perez re: Trial held on 8/28/2023 before
                               Judge Jed S. Rakoff. Court Reporter/Transcriber: Sharonda Jones, (212) 805−0300,
                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 9/29/2023.
                               Redacted Transcript Deadline set for 10/10/2023. Release of Transcript Restriction set
                               for 12/7/2023. (McGuirk, Kelly) (Entered: 09/08/2023)
              09/08/2023    80 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Steven Perez. Notice is
                               hereby given that an official transcript of a Trial proceeding held on 8/28/2023 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 09/08/2023)
              09/08/2023    81 TRANSCRIPT of Proceedings as to Steven Perez re: Trial held on 8/29/2023 before
                               Judge Jed S. Rakoff. Court Reporter/Transcriber: Sharonda Jones, (212) 805−0300,
                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 9/29/2023.
                               Redacted Transcript Deadline set for 10/10/2023. Release of Transcript Restriction set
                               for 12/7/2023. (McGuirk, Kelly) (Entered: 09/08/2023)
              09/08/2023    82 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Steven Perez. Notice is
                               hereby given that an official transcript of a Trial proceeding held on 8/29/2023 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 09/08/2023)
              09/08/2023    83 TRANSCRIPT of Proceedings as to Steven Perez re: Trial held on 8/30/2023 before
                               Judge Jed S. Rakoff. Court Reporter/Transcriber: Sharonda Jones, (212) 805−0300,
                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 9/29/2023.
                               Redacted Transcript Deadline set for 10/10/2023. Release of Transcript Restriction set
                               for 12/7/2023. (McGuirk, Kelly) (Entered: 09/08/2023)
              09/08/2023    84 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Steven Perez. Notice is
                               hereby given that an official transcript of a Trial proceeding held on 8/30/2023 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 09/08/2023)
              09/08/2023    85 TRANSCRIPT of Proceedings as to Steven Perez re: Trial held on 8/31/2023 before
                               Judge Jed S. Rakoff. Court Reporter/Transcriber: Sharonda Jones, (212) 805−0300,
                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 9/29/2023.
                               Redacted Transcript Deadline set for 10/10/2023. Release of Transcript Restriction set
                               for 12/7/2023. (McGuirk, Kelly) (Entered: 09/08/2023)
              09/08/2023    86 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Steven Perez. Notice is
                               hereby given that an official transcript of a Trial proceeding held on 8/31/2023 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 09/08/2023)
              09/11/2023    87 SENTENCING SUBMISSION by USA as to Keith Vereen. (Nicolas, Ashley)
                               (Entered: 09/11/2023)
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              09/12/2023    88 SENTENCING SUBMISSION by Keith Vereen. (Attachments: # 1 Exhibit A Letter
                               from Keith Vereen, # 2 Exhibit B Letter from Krystal Muniz, # 3 Exhibit C Letter
                               from Canangus Pagan, # 4 Exhibit D Letter from Christopher Parrales, # 5 Exhibit E
                               Letter from Kyle Smith, # 6 Exhibit F Letter from Ryan Creney, # 7 Exhibit G Letter
                               from Eboa−Nti, Delord, # 8 Exhibit H Letter from Jeremy Davis)(Sapone, Edward)
                               (Entered: 09/12/2023)
              09/18/2023        NOTICE OF HEARING as to Keith Vereen: Concerning the sentencing on September
                                18, 2023, the start time has moved from 2:30 to 2:00 PM (Sentencing set for 9/18/2023
                                at 02:00 PM before Judge Jed S. Rakoff) (lnl) (Entered: 09/18/2023)
              09/18/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Status Conference as to
                                Keith Vereen held on 9/18/2023. Present were the defendant and his counsel Edward
                                Sapone, AUSAs Ashley Nicolas & Madison Smyser present for the Government, and
                                court reporter. Court's decision: the sentencing is adjourned to October 10, 2023 at
                                noon. The Court requires the parties to produce an Army Legal Expert before this
                                sentence can go forward. Sentencing adjourned to 10/10/2023 at noon. Deft contd
                                remanded. (Sentencing set for 10/10/2023 at 12:00 PM before Judge Jed S. Rakoff.)
                                (jw) (Entered: 09/18/2023)
              10/10/2023        NOTICE as to Keith Vereen. The sentencing currently scheduled for noon on October
                                10, 2023 is adjourned sine die, for the time being. (ap) (Entered: 10/10/2023)
              10/10/2023        Terminate Deadlines and Hearings as to Keith Vereen. (ap) (Entered: 10/10/2023)
              10/10/2023        NOTICE OF HEARING as to Keith Vereen. This sentencing will be heard on
                                Thursday, October 12, 2023 at noon in courtroom 14B of the Daniel Patrick Moynihan
                                Courthouse, 500 Pearl Street, New York City, New York. (Sentencing set for
                                10/12/2023 at 12:00 PM in Courtroom 14B, 500 Pearl Street, New York, NY 10007
                                before Judge Jed S. Rakoff) (ap) (Entered: 10/10/2023)
              10/12/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Sentencing held on
                                10/12/2023 for Keith Vereen (1) Count 1. On October 12, 2023 Judge Rakoff held a
                                sentencing. Present were the defendant and his counsel, Edward Sapone, AUSA
                                Ashley Nicholas for the Government and a court reporter. Sentence on count 1: 24
                                months jail, voluntary surrender 12/5/2023 before 2:00 to the designated institution,
                                $100 assessment, forfeiture of firearms. Counts 2 is dismissed on motion of the
                                Government. (lnl) (Entered: 10/13/2023)
              10/12/2023        DISMISSAL OF COUNTS on Government Motion as to Keith Vereen (1) Count 2.
                                (lnl) (Entered: 10/13/2023)
              10/18/2023    89 TRANSCRIPT of Proceedings as to Keith Vereen re: Sentence held on 10/12/23
                               before Judge Jed S. Rakoff. Court Reporter/Transcriber: Sadie Herbert, (212)
                               805−0310, Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               11/8/2023. Redacted Transcript Deadline set for 11/20/2023. Release of Transcript
                               Restriction set for 1/16/2024. (Moya, Goretti) (Entered: 10/18/2023)
              10/18/2023    90 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Keith Vereen. Notice is
                               hereby given that an official transcript of a Conference proceeding held on 10/12/23
                               has been filed by the court reporter/transcriber in the above−captioned matter. The
                               parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (Moya, Goretti) (Entered: 10/18/2023)
              10/20/2023    91 JUDGMENT In A Criminal Case. Date of Imposition of Judgment: 10/12/2023.
                               Defendant Keith Vereen (1) pleaded guilty to Count(s) 1. Count(s) 2 is dismissed on
                               the motion of the United States. IMPRISONMENT: On count 1: Twenty Four (24)
                               months. − The court makes the following recommendations to the Bureau of Prisons:
                               Incarceration in South Carolina. − The defendant shall surrender for service of
                               sentence at the institution designated by the Bureau of Prisons: before 2 p.m. on
                               12/5/2023. SUPERVISED RELEASE: On count 1: Three (3) years. Standard
                               Conditions of Supervision (See page 4 of Judgment). Special Conditions of
                               Supervision (See page 5 of Judgment). ASSESSMENT: $100.00, due immediately. −
                               The defendant shall forfeit the defendant's interest in the following property to the
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                                United States: Any and all firearms and ammunition involved in or used in the offense
                                charged in count one of the Indictment. (Signed by Judge Jed S. Rakoff on
                                10/14/2023) (bw) (Entered: 10/20/2023)
              10/26/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Pretrial Conference as
                                to Steven Perez held on 10/26/2023. A telephonic conference was held on October 26,
                                2023, without transcription or recording during which counsel for all parties was
                                present. The Court granted the defendants request for an adjournment of the sentencing
                                hearing that is currently scheduled for December 4, 2023, at 2 PM. The sentencing
                                hearing for defendant Steven Perez (a/k/a Lucha El) will now be held on January 8,
                                2023, at 4 PM. (Sentencing set for 1/8/2024 at 04:00 PM before Judge Jed S. Rakoff)
                                (lnl) (Entered: 10/26/2023)
              11/03/2023    92 ORDER of USCA (Certified Copy) as to Steven Perez re: 78 Notice of Appeal −
                               Interlocutory USCA Case Number 23−7090. Upon due consideration, it is hereby
                               ORDERED that the judgment of the district court is AFFIRMED and the motion for
                               release under Fed. R. App. P. 9(a)(3) is DENIED. Catherine O'Hagan Wolfe, Clerk
                               USCA for the Second Circuit, Clerk USCA. Certified: 11/3/2023. (tp) (Entered:
                               11/03/2023)
              11/06/2023    93 TRANSCRIPT of Proceedings as to Keith Vereen re: Conference held on 9/18/2023
                               before Judge Jed S. Rakoff. Court Reporter/Transcriber: Sonya Ketter Moore, (212)
                               805−0300, Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               11/27/2023. Redacted Transcript Deadline set for 12/7/2023. Release of Transcript
                               Restriction set for 2/5/2024. (McGuirk, Kelly) (Entered: 11/06/2023)
              11/06/2023    94 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Keith Vereen. Notice is
                               hereby given that an official transcript of a Conference proceeding held on 9/18/2023
                               has been filed by the court reporter/transcriber in the above−captioned matter. The
                               parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 11/06/2023)
              11/27/2023    95 MANDATE of USCA (Certified Copy) as to Steven Perez USCA Case Number
                               23−7090. It is hereby ORDERED that the judgment of the district court is AFFIRMED
                               and the motion for release under Fed. R. App. P. 9(a)(3) is DENIED. Catherine
                               O'Hagan Wolfe, Clerk USCA for the Second Circuit. Issued As Mandate: 11/27/2023.
                               (km) (Entered: 11/27/2023)
              11/27/2023        Transmission of USCA Mandate/Order to the District Judge re: 95 USCA Mandate −
                                Final Judgment Appeal. (km) (Entered: 11/27/2023)
              12/01/2023        Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                as to (22−Cr−644−1) Keith Vereen held on 12/1/2023. A telephonic conference was
                                held without transcription or recording on December 1, 2023. Counsel for both parties
                                was present. Defendant's request for an extension of the surrender date is denied. (bw)
                                (Entered: 12/01/2023)
              01/02/2024        Minute Entry for proceedings held before Judge Jed S. Rakoff: Telephone Conference
                                as to Steven Perez held on 1/2/2024. Held without transcription or recording during
                                which counsel for all parties was present. The Court granted the parties' request for an
                                extension of the deadline to file their respective sentencing submission. The deadline
                                to file sentencing submissions in is now January 4, 2024. (jbo) (Entered: 01/02/2024)
              01/05/2024    98 SENTENCING SUBMISSION by USA as to Steven Perez. (Smyser, Madison)
                               (Entered: 01/05/2024)
              01/05/2024    99 SENTENCING SUBMISSION by Steven Perez. (Attachments: # 1 Exhibit Exhibits
                               A−L)(Baharanyi, Zawadi) (Entered: 01/05/2024)
              01/08/2024        Minute Entry for proceedings held before Judge Jed S. Rakoff: Sentencing held on
                                1/8/2024 for Steven Perez (2) Count 1s,2s. On January 8 2024 Judge Rakoff held a
                                sentencing. Present were the defendant and his counsel Zawadi Baharanyi, AUSAs
                                Ashley Nicolas, Maddison Smyser and Sarah Mortazavi for the Government, and a
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                                  court reporter. Sentence: on counts 1 and 2: 16 months prison, concurrent, remanded, 3
                                  years supervised release, concurrent, $200 assessment. The underlying charging
                                  instrument is dismissed on motion of the Government. (bw) (Entered: 01/12/2024)
              01/08/2024          DISMISSAL OF COUNTS on Court or Defendant Motion as to Steven Perez (2)
                                  Count 3. (bw) (Entered: 01/12/2024)
              01/12/2024    100 JUDGMENT IN A CRIMINAL CASE as to Steven Perez (2). THE DEFENDANT:
                                was found guilty on counts 1 and 2 after a plea of not guilty. Counts of the underlying
                                indictment are dismissed on the motion of the United States. IMPRISONMENT: On
                                count 1: Sixteen (16) months jail, concurrent to the sentence imposed on count 2. On
                                count 2: Sixteen (16) months jail, concurrent to the sentence imposed on count 1. The
                                court makes the following recommendations to the Bureau of Prisons: Incarceration as
                                close to the New York metropolitan area as possible. The defendant is remanded to the
                                custody of the United States Marshal. SUPERVISED RELEASE: On count 1: Three
                                (3) years. On count 2: Three (3) years, all terms on all counts to run concurrent to each
                                other. ASSESSMENT: $200.00 due immediately. The defendant shall forfeit the
                                defendant's interest in the following property to the United States: pursuant to 18
                                U.S.C. § 924(d)(I), and 28 U.S.C. § 2461(c), any and all firearms and ammunition
                                involved in or used in said offense. (Signed by Judge Jed S. Rakoff on 1/11/2024)(ap)
                                (Entered: 01/12/2024)
              01/17/2024    101 NOTICE OF APPEAL by Steven Perez from 100 Judgment. (km) (Entered:
                                01/17/2024)
              01/17/2024          Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Steven
                                  Perez to US Court of Appeals re: 101 Notice of Appeal − Final Judgment. (km)
                                  (Entered: 01/17/2024)
              01/17/2024          Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                  Electronic Files as to Steven Perez re: 101 Notice of Appeal − Final Judgment were
                                  transmitted to the U.S. Court of Appeals. (km) (Entered: 01/17/2024)
